Case 2:10-md-02179-CJB-DPC Document 4820-12 Filed 12/06/11 Page 1 of 4




                                 EXHIBIT 5



                                 In Support of


          Plaintiff United States’ Memorandum of Law in Support of the
         United States’ Second Motion for Partial Summary Judgment; and
            Statement of Undisputed Material Facts in Support Thereof
Case 2:10-md-02179-CJB-SS Document 1861-6    Filed 04/04/11 Page 2 of 4
Case 2:10-md-02179-CJB-DPC Document 4820-12 Filed 12/06/11 Page 2 of 4
Case 2:10-md-02179-CJB-SS Document 1861-6    Filed 04/04/11 Page 3 of 4
Case 2:10-md-02179-CJB-DPC Document 4820-12 Filed 12/06/11 Page 3 of 4
Case 2:10-md-02179-CJB-SS Document 1861-6    Filed 04/04/11 Page 4 of 4
Case 2:10-md-02179-CJB-DPC Document 4820-12 Filed 12/06/11 Page 4 of 4
